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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORN                               FILED
                                                                                     MAR 1'; 2012
UNITED STATES OF AMERICA,                  CASE NO. 12CR47 9 L c. ;;<K 1J 5 C :,-:'"ICT COJRT
                                                                    '~U':";''i-::i~.: r'l   .:CT OF C:'~IFCRNI;"
                                                                    BY         ~ "    ~                 DEPUTY
                      Plaintiff,
              vs.                          JUDGMENT OF DISMISSAL
SIMON GARCIA-DELGADILLO (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

___
  X_ an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

___
  X_ of the offense(s} as charged in the Information:

     8USC1324 (a) (1) (A) (iv) AND (v) (II) - INDUCING AND ENCOURAGING

     ILLEGAL ALIENS TO ENTER THE UNITED STATES AND AIDING AND ABETTING

          IT IS THEREFORE ADJUDGED that                            is hereby discharged.


 DATED: MARCH 13, 2012
                                                      S. CRAWFORD
                                            U.S. Magistrate Judge
